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                        IN THE THIRD JUDICIAL DISTRICT COURT
                    IN AND FOR SALT LAKE COUNTY,STATE OF UTAH


  JAMES HODGES,
                                                                    COMPLAINT
       Plaintiff,                                                    (TIER 3)

  V.                                                              Civil No. 210901521

  WALMART Inc.,                                               Judge Elizabeth A. Hruby-Mills

       Defendant.



       James Hodges ("Plaintiff), by and through counsel of record, hereby alleges and

complains as follows:

                             PARTIES, VENUE,AND JURISDICTION

       1.     Plaintiff is a resident of the State of Utah.

       2.     Walmart Inc.("Defendant"), is a corporation doing business in Utah with its

headquarters in Bentonville, State of Arkansas.



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       3.       This Court has subject matter jurisdiction over the claims asserted in this action

pursuant to UTAH CODE ANN. §§ 78A-5-102 and 78B-3-205.

       4.       Venue is proper in this forum pursuant to UTAH CODE ANN. § 78B-3-307 because

the Defendant resides in Salt Lake County, Utah, and/or the causes of action arose in Salt Lake

County, Utah.

       5.       The relief sought in this Complaint qualifies as a Tier 3 for standard discovery

pursuant to Utah R. Civ. P. 26(c) because Plaintiff seeks an amount that exceeds $300,000.00

against Defendant.

                                   GENERAL ALLEGATIONS

       6.       Defendant leases or owns property in West Valley City, Utah.

        7.      On or about January 18, 2020, Plaintiff entered Defendant's property.

       8.       Plaintiff was delivering merchandise on behalf of Frito-Lay.

       9.       While Plaintiff was taking an empty delivery cart back inside, Plaintiff slipped on

ice and fell.

        10.     Due to the fall, Plaintiff broke his wrist on impact and suffered other serious

injuries.

                                   FIRST CAUSE OF ACTION
                                        (Negligence)


        1 1.    Plaintiff incorporates his previous paragraphs as if fully set forth herein.

        1 2.    Defendant owed a duty to Plaintiff to warn ofthe dangerous condition, maintain its

property in a manner safe for public use, inspect its property for dangerous conditions, and repair,

replace, fix, or otherwise remedy the dangerous condition on its property.

        1 3.    Defendant breached the duties it owed to Plaintiff by failing to warn of the

dangerous condition it caused by failing warn of the dangerous condition, maintain its property in
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a manner safe for public use, inspect its property for dangerous conditions, and to repair, replace,

fix, or otherwise remedy the dangerous condition on its property.

        14.      Defendants' breach of its duties directly and proximately caused Plaintiff to slip

and fall and sustain significant injuries and damages.

        1 5.    These damages include bodily injuries; medical expenses; past, present, and future

pain; loss of enjoyment of life, temporary and permanent disability; emotional distress;

embarrassment and humiliation; loss of independence; and other related and additional damages.

        16.     Plaintiff is entitled to recover from Defendant, in an amount to be proven at trial,

the special and general damages directly and proximately caused by Defendant's breach of its

duties owed to Plaintiff, plus interest, attorney's fees and costs, applicable pre- and post-judgment

interest, and such other relief as is just and proper.

        1 7.    Plaintiff is entitled to interest on the amount incurred on special damages pursuant

to the applicable statutes of the State of Utah.

        18.     Defendant is also vicariously liable for the acts and conduct of its agents under the

doctrine of respondeat superior.


                                         JURY DEMAND

        Pursuant to Rule 38 of the Utah Rules of Civil Procedure, Plaintiff demands a trial by

jury on all issues so triable.


                                      PRAYER FO RELIEF

        WHEREFORE,Plaintiff prays for a judgment against the Defendant as follows:



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        1.     For special damages in a sum subject to proof at trial and interest thereon, pursuant

to the applicable statues of the State of Utah.

       2.      For general damages in a sum subject to proof at trial.

       3.      For such other and further relief as the Court deems just and proper.

       DATED March 18, 2021.
                                                      DRIGGS BILLS & DAY,P.C.

                                                       /s/Parker A. Allred
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